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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                             CASE NO. 1:09-cr-17-SPM/AK-2

PAUL CEDENO,

        Defendant.
                                        /


               ORDER ADOPTING REPORT AND RECOMMENDATION

        Pursuant to the Report and Recommendation (doc. 79) of the United States

Magistrate Judge, to which there have been no timely objections, the plea of guilty of

the Defendant, PAUL CEDENO, to Count One of the superseding indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

        DONE AND ORDERED this tenth day of September, 2009.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  Chief United States District Judge
